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 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          CASE NO. 1:13-CR-000392 LJO SKO
                                                        (001)
12                                Plaintiff,
13   v.
                                                        STIPULATION AND ORDER TO
14   BALTAZAR CASTANEDA GARCIA,                         MODIFY DEFENDANT’S
                                                        CONDITIONS OF RELEASE; ORDER
15                                Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant, by
18 and through his counsel of record, hereby stipulate to modify defendant’s conditions of release as

19 follows:
20          1. Baltazar Garcia was released from custody on March 12, 2014 and ordered under the
21             supervision of U.S. Pretrial Services. By stipulation, the terms of his release were
22             modified on or about April 30, 2014.
23          2. The parties agree and stipulate that the terms of Mr. Garcia’s release be modified and he
24             be ordered placed under the supervision of Pretrial Services supervision under the same
25             terms and conditions originally imposed by the court on or about March 12, 2014.
26          3. The parties agree and stipulate, and request the Court order:
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 1              a. Defendant Garcia’s conditions of release previously ordered by the Court be

 2                 modified and that he be ordered released on the terms originally imposed on or

 3                 about March 12, 2014.

 4              b. The following previously modified conditions including, but not limited to,

 5                 Pretrial Services supervision, drug testing, third party custodianship, maintain

 6                 employment, and restrictions on his use of drugs and excessive use of alcohol,

 7                 passport application, travel, residence, and possession of weapons be reinstated.

 8        IT IS SO STIPULATED.

 9 DATED: September 16, 2014                  /s/ Laurel J. Montoya
                                              LAUREL J. MONTOYA
10                                            Assistant United States Attorney
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12 DATED: September 16, 2014                  /s/ David A. Torres
                                              DAVID A. TORRES
13                                            Attorney for Defendant
                                              BALTAZAR GARCIA
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15                                             ORDER
16 IT IS SO FOUND AND ORDERED

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     IT IS SO ORDERED.
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19     Dated:   September 17, 2014                       /s/ Barbara A. McAuliffe               _
                                                  UNITED STATES MAGISTRATE JUDGE
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